          Case 3:24-cv-01621-LL-MMP                                    Document 3                Filed 09/20/24      PageID.25                 Page 1 of 3

   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State, Bar number, and address):                                                        FOR COURT USE ONLY
   Hedin LLP
   1395 Brickell Ave, Suite 610,
   Miami, FL 33131
              TELEPHONE NO.: 305-357-2107                      FAX NO. (Optional):
   E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Name): Caryn Harlos, individually and on behalf of all others similarly situated

  US District Court, California, Southern District, Santa Ana
           STREET ADDRESS:            2601 Main St Suite 330
           MAILING ADDRESS:           2601 Main St Suite 330
          CITY AND ZIP CODE:          Irvine 92701
               BRANCH NAME:


       PLAINTIFF/PETITIONER: Caryn Harlos, individually and on behalf of all others similarly situated            CASE NUMBER:


DEFENDANT/RESPONDENT: LexVid Services, Inc.                                                                                  3:24-cv-01621-LL-MMP
                                                                                                                  Ref. No. or File No.:
                                      PROOF OF SERVICE OF SUMMONS                                                                         24-cv-01621


1. At the time of service I was at least 18 years of age and not a party to this action.




                                                                                                                                                                           BY FAX
2. I served copies of (specify documents):
   Complaint; Summons



3. a. Party served (specify name of party as shown on documents served):
             LexVid Services, Inc.

    b.      X         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                      item 5b whom substituted service was made) (specify name and relationship to the party named in item 3a ):
                      Jeff Webb

4. Address where the party was served:
             6565 Hillgrove Dr, San Diego, CA 92120

5. I served the party (check proper box)
   a. X       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
              service of process for the party (1) on (date): 09/19/2024 at (time): 3:48 PM

    b.                by substituted service. On (date):                     at (time):                  I left the documents listed in item 2 with
                      or in the presence of (name and title or relationship to person indicated in item 3):

                      (1)               (business) a person at least 18 years of age apparently in charge at the office or usual place of business of
                                        the person to be served. I informed him or her of the general nature of the papers.

                      (2)               (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place
                                        of abode of the party. I informed him or her of the general nature of the papers.
                      (3)               (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                        address of the person to be served, other than a United States Postal Service post office box. I informed him
                                        or her of the general nature of the papers.

                      (4)               I thereafter caused to be mailed (by first class, postage prepaid) copies of the documents to the person to be
                                        served at the place where the copies were left (Code Civ. Proc § 415.20). Documents were mailed
                                        on (date):             from (city):                          or      a declaration of mailing is attached.
                      (5)               I attach a declaration of diligence stating actions taken first to attempt personal service.




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Form Adopted for Mandatory Use                                                                                                                 Code of Civil Procedure. § 417.10
Judicial Council of California POS-
010 [Rev. January 1, 2007]                                       PROOF OF SERVICE OF SUMMONS                                                  Tracking #: 0143580041

              REF: 24-cv-01621
         Case 3:24-cv-01621-LL-MMP                             Document 3          Filed 09/20/24          PageID.26         Page 2 of 3
   PLAINTIFF/PETITIONER: Caryn Harlos, individually and on behalf of all others similarly              CASE NUMBER:
                         situated                                                                               3:24-cv-01621-LL-MMP
DEFENDANT/RESPONDENT: LexVid Services, Inc.


    c.              by mail and acknowledgement of receipt of service. I mailed the documents listed in item 2 to the party, to the
                    address shown in item 4, by first-class mail, postage prepaid,

                    (1) on (date):                                             (2) from (city):
                    (3)              with two copies of the Notice and Acknowledgement of Receipt and a postage-paid return envelope
                                     addressed to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30)
                    (4)              to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40)

    d.              by other means (specify means of service and authorizing code section):




                    Additional page describing service is attached.

6. The “Notice to the Person Served” (on the summons) was completed as follows:
    a.              as an individual defendant.

    b.              as the person sued under the fictitious name of (specify):

    c.              as occupant.

    d.     X        On behalf of (specify) LexVid Services, Inc. c/o Jeff Webb
                    under the following Code of Civil Procedure section:
                                 X      416.10 (corporation)                                      415.95 (business organization, form unknown)
                                        416.20 (defunct corporation)                              416.60 (minor)
                                        416.30 (joint stock company/association)                  416.70 (ward or conservatee)
                                        416.40 (association or partnership)                       416.90 (authorized person)
                                        416.50 (public entity)                                    415.46 (occupant)
                                                                                                  other:
7. Person who served papers
    a.   Name:                    Alaa Asheer
    b.   Address:                 10715 Villa Bonita, Spring valley, CA 91978
    c.   Telephone number:        619-212-1370
    d.   The fee for service was: $ 75.00
    e.   I am:


                                                                                                                                                 BY FAX
         (1)              not a registered California process server.
         (2)              exempt from registration under Business and Professions Code section 22350(b).

         (3)    X         registered California process server:
                          (i)       owner           employee           X   independent contractor.    For:            ABC Legal Services, LLC

                          (ii)  X       Registration No.: 3768                                        Registration #: 6779

                          (iii) X       County:            SAN DIEGO COUNTY, CALIFORNIA               County:         Los Angeles




                                                                                                                                        Page 2 of 3

POS-010 [Rev. January 1, 2007]

                                                         PROOF OF SERVICE OF SUMMONS                                       Tracking #: 0143580041
            REF: 24-cv-01621
     Case 3:24-cv-01621-LL-MMP                                                                       Document 3   Filed 09/20/24                        PageID.27         Page 3 of 3

8.   X                    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                          or
9.                        I am a California sheriff or marshal and I certify that the foregoing is true and correct.

                                                                                                                   {{t:s;r:y;o:"Signer";w:250;h:45;}}



      09/20/2024
         {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}


Date: ______________


                                                                                     Alaa Asheer
     (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                                                                 (SIGNATURE)




                                                                                                                                                                                      Page 3 of 3



                                                                                                   PROOF OF SERVICE OF SUMMONS                                           Tracking #: 0143580041
                REF: 24-cv-01621
